   Case 19-15032-JDW       Doc 4    Filed 12/13/19 Entered 12/13/19 08:31:03       Desc Notice
                                    of Deficiency Page 1 of 1
                                                                                   CM/ECF volpmd
                                                                                    (Rev. 01/03/17)

                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

In Re: Jamie W. Wren                            )                Case No.: 19−15032−JDW
       Debtor(s)                                )                Chapter: 13
                                                )                Judge: Jason D. Woodard
                                                )
                                                )


  ORDER AND NOTICE AS TO DEFICIENCY(IES) AND PROPOSED DISMISSAL OF
                                CASE
      Pursuant to the U.S. Bankruptcy Code, Federal Rules of Bankruptcy Procedure, Uniform
Local Rules, and standing orders, the Debtor(s) has 14 days from the date of filing the
above−captioned case to file the required paperwork and pay fees as applicable. The Court will
not routinely grant extensions of time to file such paperwork. A motion for extension must be
supported by good cause.
       In order for this case to be administered, it is necessary that the documents described below
be filed within 14 days:
             Aty Disclosure Stmt. due 12/26/2019
             Verification of Matrix due 12/26/2019
             Chapter 13 Plan due 12/26/2019
             Summary of Schedules due 12/26/2019
             Schedule A/B due 12/26/2019
             Statement of Financial Affairs due 12/26/2019
             Schedule C due 12/26/2019
             Ch 13 − Proper 122C form(s) due 12/26/2019
             Schedule D due 12/26/2019
             Schedule E/F due 12/26/2019
             Schedule G due 12/26/2019
             Schedule H due 12/26/2019
             Schedule I due 12/26/2019
             Sch J (and J−2 If Applicable) due 12/26/2019
       If the required paperwork and/or fees are not timely filed and/or paid by 12/26/19 the Court
will enter an ex parte order dismissing the case without further hearing.
Dated and Entered: 12/13/19
                                                    Jason D. Woodard
                                                    Judge, U.S. Bankruptcy Court
